   Case 08-14631-GMB           Doc 28    Filed 03/18/08 Entered 03/18/08 16:55:25       Desc Main
                                        Document      Page 1 of 2

                                                                                3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
    COZEN O’CONNOR
    LibertyView, Suite 300
    457 Haddonfield Road
    Cherry Hill, NJ 08002
    (856) 910-5000
    Proposed Attorneys for the Debtors

    In re:                                                 Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                           Judge: Gloria M. Burns
                    Debtors.
                                                           Chapter: 11


                                  ORDER GRANTING COMPLEX
                                 CHAPTER 11 CASE TREATMENT
             The relief set forth on the following page, numbered two (2), is hereby ORDERED:




DATED: 3/18/2008
Case 08-14631-GMB            Doc 28     Filed 03/18/08 Entered 03/18/08 16:55:25         Desc Main
                                       Document      Page 2 of 2
Page 2

Debtor: Shapes/Arch Holdings L.L.C., et al.

Case No.

Order Granting Complex Chapter 11 Case Treatment
____________________________________________________________________________________________

         These bankruptcy cases were filed on March 16, 2008. An Application for Designation

as Complex Chapter 11 Cases was filed. After review of the initial pleadings filed in these cases,

the Court concludes that these cases constitute Complex Chapter 11 cases.

         IT IS ORDERED that the request set forth in the Application for Designation As

Complex Chapter 11 Cases pursuant to the Court’s General Order Governing Procedures For

Complex Chapter 11 Cases is HEREBY GRANTED; and

         IT IS FURTHER ORDERED that the Guidelines Establishing Case Management and

Administrative Procedures for Cases Designated as Complex Chapter 11 Cases as set forth as

Exhibit F to the Court’s General Order Governing Procedures For Complex Chapter 11 Cases

shall apply.



CHERRY_HILL\430531\1 077771.000




                                                  2

                                                          Approved by Judge Gloria M. Burns March 18, 2008
